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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK


   OREN ROSENSHINE
   AMIR ROSENSHINE

                      Plaintiffs,

      vs.                                                              18-cv-03572
                                                                        (LDH-LB)
   A. MESHI COSMETICS INDUSTRIES LTD., A TO
   Z IMPORTS, INC. and EYAL NOACH
                                                               NOTICE OF MOTION FOR
                      Defendants                                SUMMARY JUDGMENT

                                                                   Served on Plaintiffs on
                                                                     December 5, 2022

                                                                 Oral Argument Requested




       PLEASE TAKE NOTICE that Defendant A. Meshi Cosmetics Industries Ltd.

  (“Meshi”), by and through its attorneys, Asserson Hiller P.C., will move this Court before the

  Honorable LaShann DeArcy Hall, United States District Judge, in the United States District

  Court, Eastern District of New York, 225 Cadman Plaza East, Brooklyn, New York, 11201,

  Courtroom 4H North, on a date and time to be set by the Court, for an order pursuant to Federal

  Rules of Civil Procedure 56 granting summary judgment and awarding Meshi such other relief

  as the Court deems just, equitable and proper. A memorandum of law and supporting exhibits

  and declarations accompany this notice of motion.




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  Dated: December 5, 2022
         New York, New York                   Respectfully submitted,
                                              /s/ Allison Khaskelis
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                                              Attorney for Defendant A. Meshi
                                              Cosmetics Industries Ltd.




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                                CERTIFICATE OF SERVICE


   I hereby certify that on December 5, 2022, I served the foregoing Notice of Motion for

   Summary Judgment, the accompanying Memorandum of Law, the text of F.R.C.P. 56 and

   the relevant local rules, and all submissions contained in ECF Nos. 92, 94 and 95 on

   Plaintiffs by electronic mail. I also arranged for these documents to be served on Plaintiffs

   via first class mail.


                                                       /s/ Allison Khaskelis
                                                       ALLISON KHASKELIS
                                                       Asserson Hiller P.C.
                                                       Attorney for Defendant
                                                       A. Meshi Cosmetics Industries Ltd.
